eilis, was

From: Ri|ey, ivleiissa Wo|t

Sent: Wednesday, October 14, 2015 3:06 Pivl

To: ' 'Robert Gage‘; Wood, R. Craig

'Cc: ' 'david@harrisonfirrn.us'; 'Joseph Evans'

Subject: RE: Discovery Issues _

Attachments: revised production.pdf; Novacl< Papers.pdf; W&LRevisedpriviog.pdf
Bob

| wr1te to foiiow up on some issues discussed' m our call on ivionday, and addressed 1n your e mai|.

l have had an opportunity to go back through the documents included on our privilege log, paying particular attention to
those in which none of W&L’s in-house counsel (Leanne Shank jennifer Kirl<land and Jana Shearer) were an author or
recipient Every time that this occurs in our privilege log, it is due to the fact that the e- -rnail captured' in the privilege log
is merely the most recent communication m an e- -mail string which initially included counsel ln addition to those
individualsl The document at Bates No. WL00001924 1925 is ran example ofthis. lfyou read the e- -'mal|s m backward
order, the very first (in time) e-mall is from Tammi Simpson, reporting the results of the SFHB hearing. Thereafter,
Sidney Evans, Leanne Shanl<, Tarnmi S|rnpson, and i_auren i<ozal< engage in a privileged discussion, which is

redacted Then, Lauren l<ozak and ‘l`ammi Slmpson continue the conversation between themselves, which is not
redacted Because no new individuals outside of the privileged portion of the string are included the privilege' as not
waived simply because counsel was not lnc|uded' m the final exchange | hope that this explanation will ailay some of
your concerns about the documents included in the privilege log, but | am happy to discuss further if you would like.

Dur|ng my_ review, l did notice a few documents that fail into the category explained above, but which were
lnadvertent|y‘withhe|d completeiy, instead of redacted, or were redacted, but portions of which should not have been
redacted l have gone back and revised those documents, and attach those as a supplement to our prior .
production Specifically, the foilowing 7 documents have been revised, and are attached with redactions:
Bates Range `

wtooozosé-zos? (Pr'eviously withheid)

Wi.OU{)ZO?Z-ZOM (Previously withhe|d)

WL0003934 (Prevlously withhe|d)

WL0003954-3955 (Previously redacted)

WL0003956-3957 (Previously redacted)

WLoooc:Los-sllo (P`reviousiy withheid)

WLOOOLilll-¢lllz {Previously Withheld}

§ also looked into the point-by~point analysis that David teonard requests from iammi Simpson, which we discussed in
our cali the other day. You have been provided this document at WLOOOOSB'I-Siiz. lt was not withheld.

As Craig explained on our call, the standard'procedure is for oil documents except the final decisions and investigative
report regarding the SFHB and appeal process to be collected and discarded upon completion ofthe hearing This is the .
likely explanation for your concern that certain e-rnai|s between multiple document custodians have been produced by
one document custodian but not others. Simp|y stated`, we collected and produced or logged what is in the possession

of the document custodians; if duplicate copies from other custodians have not been produced it is likely because they
no longer exist. We do not agree with your contention that W&L should have been on notice that litigation was
forthcoming at that point m time and therefore should have put a litigation hold on those communications because the
SFHB has heard many cases, and this ls the first time that litigation has ensued.

l
ease 6:14-cv-00052-1\11<1\/1-RSB Documemes-z Filed 01/13/16 PE'@KHHZBPLQIid#Bzze

 

 

We also disagree with your assertion that the Tit|e lX investigator, SFi-IB and appeal board are independent entitles who
are not entitled to seek guidance from university counse|. These entities do not exist separate and apart from W&i.;
although the investigation and decisions that they reach on the cases they hear are made without assistance from
counsel or others within the university, and are therefore ”neutral and impartlai,” once the investigation is compiete,
and/or the decisions ofthe SF|-lB/appeal board are reached, the entities are entitled to seek counsel regarding the
procedure to be followed and the written documents setting forth their findings so that they comply with applicable
|aw, and those communications are protected pursuant to the attorney-client privilege and/or work product
doctrine. That is what occurred in this case; as you can discern from the priviiege log dates and descriptions counsel
played no role in the investigation and/or decisions made by the SFHB or appeal board; instead, counsel provided
guidance and editing with respect to the communication of the investigation/decisions to the involved parties

Fina||y, while we Were speaking, you asked about David Novack's writings on sexual assau|t. We suggested that a
subpoena would be the best way to obtain those, as they were not in our (nor W&L's) possession. We had actuain
asked David for a copy of those things some time ago, but had never received them. Then, out of the blue, he sent them
to us yesterday. Now that they are in our possession, there is no need for you to go through the subpoena

process They are attached

l hope that you will accept the attachments to this e»mail as a supplemental production. if you would prefer that we do
a formal 'pleading, please lot me know and we will do it. | have also attached an updated privilege log reflecting these
changes .

Thani<s,
ivlelissa

i\)ielzssa Wo|f Riley

Counse[

McGuireWoode, LLP

310 4th Slreei N.E.

P.O. 1301-11288

Charloilesvllle, Vlrg|n|a 22902-1288
mrl|ey@mcgu[rewoode.con] _
434.977.2598

434.980.2275111)<

This e maii may contain oon!idantr'ei or priviieged information lfyou are not the In!endcd recipient please advise by return e-mail and delete immediately without
reading or fonyerding to others._

From: Robei‘t Gage[ ilto' a e a es encer.com
.Sent: Frlday, October 09, 2015 4:57 P|_Vl

'I'o: Wood R Craig

.Cc: davi_d@harr isonfirm. us; Riiey, Me|issa Wo|f; Joseph Evans
Subject: Discovery Issues

 

 

 

C-raig -

As you are probably awar,e I spoke With Melissa yesterday rega1ding outstanding discov_cw issues. Wc
agreed to speak fu1ther on Monday In the mcautimc, I thought it would bc helpful to outline 0111 position with zagard to
certain attorney~clicnt/woik product piiyllege esser tions by W&L

To date, W&L has withheld production of many hundreds of pages of documents 011 grounds of attorney-
'ciient_ privilege or attorney Work product.. W&L bears thc burden to demonstrate the applicability of thc attorney-client
p11v11egc it has asscltcd ovcl those hund1eds of documents See, e. g', Hawkfns v. Stable.s, 148 F.3d 3'1'9, 383 (4th Cir.
1998).T1aditionally, mci cover the attolney-client privilege 1a to be nauowly consu ned. Id.

Thc withheld documents largely relate to communications between the Unive1sity’ s Gencial Counscl’s
office and two bodies which were rcquiicd to be independent ~- the Hearing Pancl Which judged the sexual misconduct
cha1 gas leveled against Plaintiff Doc, and the Appeel Panel whmh decided whether 01 not to permit Doe to appeal the
' Hea1'1ng Panel’s ultimate decision in out view those two bodies we1c independent of the Uuiversity (the client of the

f

2

Case 6:14-cv-00052-NKI\/|-RSB Document 65-2 Filed 01/13/'16 Page 2 of 4 Pageid#: 1227

 

 

W&L Gcncral Counscl) and thus lacked the requisite attorney client relationship to ground W&L’s assertion of
privilegel For this and the additional reason that the documents withheld arc likely to bc highly probative of issues that
lay at the heart of Plamtift"s claims, we ask that W&,L reconsider its assertions of privilege and produce thc documents

By way of examplc, an emuil produced by W&L indicates that the head of the Appcal Pancl, David
Lconul'd, to assist him in his effort to discharge W&L’s appeal policies, requested from one of the Heul‘lng Panel
membcrs, Tammi Simpson, a “point by point” written explanation of the reasons for the Hcaring Panel’s decision in the
case. Though there ca11 be 110 argument that Simpson and Leonard had any attorney»clicnt rclationship, Simpson’s` written
report was withheld from production on privilege grounds.' Emails also withheld from production suggest that Simpson `
coordinated her written response with W&L’s Gcncral Counsel Leane Shanlc and with W&L’s supposedly independent
Titlo IX Coordinator Lauren Kozak, even though neither served on the Heariug Panch Any such report would be highly
relevant to the adverse determinations made by both the Hearing Pancl and Appcal Pancl, as well as to issues raised in the
action before the Court generally lt appears that W&L’s decision to withhold the report (and the entails between `
_Simpson, Shanlc, and Kozalc concerning thc report) is predicated on the fact that W&L Gcncral Counsel Shank reviewed
and perhaps commented on the reportl Whilc these facts raise substantial questions on the fairness and independence of
the process to which Plaintiff was subjected, at a minimum they do not support any privilege clalm. That roport, and thc
various drafts of each of those persons leading up to its final vorsion, should be produced

Wc note that the W&L lntorim Soxual Misconduct Policy requires “[c]ach member of the [_`[-lcaring Pancl]
must bc neutral and impartial.” Titlc IX further requires an “[a]dcquatc, reliable and impartial investigation ot
ccmpiaints.” UNrTBo S'rA'rnr) DsP’T or EoucArloN, Orrrcn ron Clvrc Rlcnrs, Rew'sed Sexual Harassmear Gm‘daace.'
Harossment of Studenrs by Schccl Emplcyees, 01th Studen!s, or Thira" Par'tz'es " Tz`lle IX (2.001) at 20 (cmphasis
addcd).. Wii:h respect to appeals of decisions of a hearing pancl, W&L’s Studeni; Handboolc establishes that the appeal
pioocss, too, be “11euh al and impartial. ”

Furthcrmorc, grounds exist to suspect that communications may have been dcstroycd. Thc discovmy
reveals that the head of the Appeal Panel, immediately following his communications with thc Univorsity’s lawyers that
have been withheld from production, instructed the members of thc Appcal Pancl not only to delete all correspondence
and documentation relating to their discussions and ultimate dccision, but also to take thc extra step to purge that
correspondence and documentation from their respective “dcleted items” sections 1`11 their computers Spccil’ically, an c~
mail dated Deccmber 2, 2014, between Davld Leonard W&L’s Dcan of Studont Life and head of the _Appcal Panol and
Leanne Shank, W&L’s Gcnc) al Counsel- which was withheld fiom p10duction- was followed the next day by Mr.
Lconeud’s entail to a member of the Appcal Panel with those directions fo1 accomplishing the deletion of these
documents Coming post-hcaring, these deletions were made at a time at which litigation should have been reasonably
anticipated and preservation should have been mandatory

Additionally, W&L’s privilege log establishes that cmails involving Shank, Simpson, and Kozak were not
p1oduccd by Shank and Slmpson. Tho fair infc1cnce is that cmails conccming a disciplinaiy plocccding 1esulting in
Plaintit"t’s expulsion were not available for p1oduction, having been deleted by those central pa1ticipants. To the extent
that Mr. Lconaicl’s actions, 01 the appalcnt actions of Ms. Simpson or Ms Shank resulted from advice given by Univclsity
lawyers, it could well establish an exception to the attorney client privilege recognized by law as a further ground to
defeat W&L’s privilege claims

Finally, W&L has provided a description of categories of documents over which it has asserted privilege
which, itself, undermines thc merits of its assertion For instancc, there arc at least ton sets of o-mails where W&L admits
an attorney is neither the author nor recipient of the c-rnail. Additionally, there are at least three more sets cf c-mails
where an attorney is merely cc’d and W&L describes the attorney as being neither the author nor recipient of the c-
mail. Tllerc arc also more than fifty other series of o-mails where an attorney is listed as one of numerous recipients Thc
attorney-client privilege cannot be invoked to protect ii'om disclosure otherwise discoverable communications where
attorneys arc merely “cc’d" or included as one of many recipients

At a minimum, the inclusion of the Univcrsity’s counsel in communications with thc supposedly
independent Hcaring Pancl, Appcllate Pancl, and Title lX Coordlnator suggests the existence of coordination which, we
submit, destroys the claimed independence of the bodies which decided Plaintiff’s case. Indecd, touching on the issue
addressed above, W&L has asserted privilege and withheld from production various draft documents, neither signed nor
transmitted by an attorncy, which arc supposed to be the product of a “ncutral and impartial” process. These documents

3

Cas`e 6:14-cv-00052-NKl\/|-RSB Document 65-2 _ Filed 01/13/16 Page 3 of 4 Pageid#: 1228

 

 

appear to include drafts of letters to John Doe, documents relating to John Doe’s Appeel, `as well as drafts of Joim Doe’s
Hearing,Board and Appeal decisions The basis for W&L’s withholding of these critical drafts ii'om production appears
to be that they Were vetted end reviewed by the University’s lawyers The use of counsel in this Way is insufficient to
shield such documents from disclosure and, we submit, inappropriate for a supposedly independent prccess.

We look forward to discussing these, and other discovery issues, on Monday.

Bob

G. Robert Gage, Jr., Esq‘
Gage Speneer & Flerning LLP
410 Park Avenue

New York, New York 10022
Tel: 212-768-4900

l?ax: 212-768-3629
ni'gag_€@taegesnencer.com

WWW. g&gCS QCHCCL`.COIH

 

This message contains confidential and privileged information Dissernination or duplication oftln`s material is`
prohibited If you are not the intended recipient, please notify the sender end delete this erneil and any
attachments thereto from your system. Thank you.

4

Case 6:14-cv-00052-NK|\/|-RSB Docurnent 65§2 Filed 01/13/16 `Page 4 of 4 Pageid#: 1229

 

 

